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                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


  ORTHODOX JEWISH COALITION OF
  CHESaINUT RIDGE, an unincorporated
  association, CONGREGATION BIRCHAS
  YITZCHOK, a New York religious
  corporation, CONGREGATION DEXTER
  PARK, CONGREGATION TORAH
  U'TFILLA, a New York religious corporation,       Civ. No.
  ABRAHAM WILLNER, and TZVI MILLER,

                           Plaintiffs,

             V.




  VILLAGE OF CHESTNUT RIDGE, NEW
  YORK,

                           Defendant.


                                         COMPLAINT


       Plaintiffs ORTHODOX JEWISH COALITION OF CHESTNUT RIDGE, a New York

rinincorporated association ("OJCCR"), CONGREGATION BIRCHAS YITZCHOK, a New York

religious corporation, CONGREGATION DEXTER PARK, a New York religious corporation,

CONGREGATION TORAH U'TFILLA, a New York religious corporation, ABRAHAM

WILLNER, and TZVI MILLER (collectively "Plaintiffs"), by and through their attorneys, Storzer

& Associates, p.c. and Savad Churgin LLP, hereby complain of Defendant, the VILLAGE OF

CHESTNUT RIDGE, NEW YOR?K (tlie ?Village") as follows:



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                         INTRODUCTION AND NATURE OF ACTION


         1. The Village of Chestnut Ridge, New York ("Village?) has implemented and

imposed several land use regulations controlling the use of real property for places of worship

within its jurisdiction. These laws create onerous zoning requirements to be able to use property

for religious purposes, including a five-acre minimum lot area requirement and subjecting such

uses to the legislative discretion of the Village's Board of Trustees, and treat religious assembly

and institutional land uses differently and worse than myriad nonreligious assembly and

institutional uses in the Village.

         2. Specifically, the Village's land use regulations applicable to places of worship

effectively prevent the members of the Orthodox Jewish community living in the Village of

Chestnut Ridge, including the Plaintiffs, from operating and attending synagogues ("shuls") in

order to engage in religious exercise within the Village.

         3. This action is commenced by Plaintiffs to redress violations of their civil rights, as

protected by the First and Fourteenth Amendments to the United States Constitution, the Freedom

of Worship provision of the New York Constitution (Article I, section 3), and the Religious Land

Use and Institutionalized Persons Act of 2000, 42 U.S.C. §e) 2000cc, et seq. ("RLUIPA").


                                     JURISDICTION AND VENUE


         4. ThisCourthasjurisdictionoverthisactionpursuantto28U.S.C.§§l331,1343(3)

& (4), 42 U.S.C. §f§ 2000cc, et seq., and 42 U.S.C. § 1983, which confer original jurisdiction on

federal district corirts in suits to redress the deprivation of rights, privileges and immunities secured

by the laws and Constitution of the United States, particularly the First and Fourteenth




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Amendments to the Constitution of the United States, and the Religious Land Use and

Institutionalized Persons Act of 2000.


        s. This Court has jurisdiction over the request for declaratory relief pursuant to 28

U.S.C. §§ 2201 and 2202. This Court has supplemental jurisdiction over all state law claims under

28 U.S.C. S, 1367(a).

        6. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), because the acts

and transactions complained of occurred, and continue to occur in this District.


                                         THE PARTIES


       7. Plaintiff OJCCR is an unincorporated association of seven Oithodox Jewish

congregations located in the Village of Chestnut Ridge, New York.

       8. Plaintiff CONGREGATION TORAH U'TFILLA is a Religious Corporation

organized under the laws of the State of New York on October 23, 2012.

       9. Plaintiff CONGREGATION DEXTER PARK is a Religious Corporation

organized under the laws of the State of New York on July 11, 2014.

        10. Plaintiff CONGREGATION BIRCHAS YITZCHOK is a Religioris Corporation

organized under the laws of the State of New York on October 10, 2010.

        11. Plaintiff ABRAHAM WILLNER is a natural person of the Orthodox Jewish faith

residing in the Village of Chestnut Ridge, New York.

        12. Plaintiff TZVI MILLER is a natural person of the Orthodox Jewish faith residing

in Chestnut Ridge, New York.

        13. Defendant VILLAGE OF CHESTNUT RIDGE, NEW YORK is a municipal

corporation of the State of New York, having offices at 277 0ld Nyack Turnpike, Chestnut Ridge,




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New York 1 0977, which, through its governing body, adopted and enforce the land use regulations

in question in this matter.



                                  FACTUAL BACKGROUND


                     Plaintiffs and the Burdens on Their Religious Exercise

        14. All of the Plaintiffs practice a form of Judaism that is commonly referred to as ultra-

Orthodox Judaism.


        15. Plaintiffs' religious exercise includes prayer, teaching, counseling and other

communal religious activity, which constitutes expressive activity.

        16. OJCCR's member congregations have no location at which they can legally

exercise their religion communally within the Village.

        17. OJCCR has a particular interest in this litigation based on its own interests. It also

seeks to vindicate its members' rights, and to provide locations for places of worship for its

members.


        18. OJCCR asserts those constitutional and statutory rights on behalf of its members.

        19. Plaintiffs Congregation Torah U'Tfilla, Congregation Dexter Park, and

Congregation Birchas Yitzchok have no location at which they can legally exercise their religion

in the Village.

        20. Plaintiff Tzvi Miller has no location at which he can legally engage in communal

worship in the Village.

        21. Plaintiff Abraham Willner has no location at which he can legally engage in

communal worship in the Village.




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       22. All of OJCCR's member congregations have sought to build or buy property to

allow them to build places of worship that would legally accommodate their religious exercise in

Chestnut Ridge.

       23. TheVillageislocatedwithintheTownofRamapoinRocklandCounty,NewYork.

       24. The Village is located adjacent to and directly south of Monsey, New York.

       25. A large Orthodox Jewish community is centered in Monsey, New York and has

expanded to nearby Villages, including Chestnut Ridge, and the Town of Ramapo.

       26. This Orthodox Jewish population, sometimes referred to as "ultra-Orthodox" or

haredi, is characterized by distinctive dress, customs, religious practices, and educational needs,

among other attributes.

       27. Plaintiffs believe in the Torah's commands that one should ?speak of [the Torah's

precepts] while you sit in your home, while you walk on the way, when you retire and when you

arise." Deuteronomy 6:5-9. The Babylonian Talmud, Sabbath 127a, states: "These are the

precepts whose fruits a person enjoys in This World but whose principal remains intact for him in

the World to Come. They are: the honor due to father and mother, acts of kindness, early attendance

at the house of study morning and evening, hospitality to guests, visiting the sick, providing for a

bride, escorting the dead, absorption in prayer, bringing peace between man and his fellow - and

the study of Torah is equivalent to them all."

       28. Many Orthodox Jews have moved to the Village in the past decade.

       29. This movement by Orthodox Jews to the Village has been met with substantial

resistance among many residents in the Village.

       30. It has also been met with legislative action targeting the religious needs of the

Orthodox Jewish community.




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        31. Plaintiffs' religious beliefs require them to attend a place of worship, or shul, for

prayer during the week, services on their Sabbath and various other holy days during the year, and

other religious activities.

        32. The Sabbath lasts for approximately twenty-five hours, from sunset on Friday until

one hour after sunset on Saturday.

        33. The same schedule applies to several holy days during the year.

        34. Plaintiffs' religious beliefs require them to attend four prayer services on the

Sabbath, one after sundown on Friday, one on Saturday morning, one on Saturday afternoon, and

then a final prayer service at the conclusion of the Sabbath on Saturday evening.

        35. Plaintiffs' religious beliefs require them to have a ritual meal in the approximate

hour between the final two Saturday prayer services.

        36. Plaintiffs have no location at which they may legally observe these religious

requirements in the Village.

        37. Furthermore,thePlaintiffscannotlegallyengageinavarietyofreligiousactivities

because of the lack of adequate physical facilities in the Village.

        38. These religious activities include: (a) celebration of high holy days, including Yom

Kippur and Rosh Hashanah; (b) Bar Mitzvahs; (c) weddings and funerals; (d) lectures related to

Judaism; (d) counseling; (e) religious instruction for children; (f) religious instruction for adults;

(g) other celebrations of major Jewish Holidays such as Passover, Shavuot, Sukkot, Chanukah and

Purim; and (h) other service activities that benefit the community at large.

        39. The Plaintiffs are religiously prohibited from driving or riding in motor vehicles

during the Sabbath and on most Holy Days.




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       40. In order to fulfill their religious obligations, Plaintiffs must walk to and from their

shuls for all of the services during their Sabbath and Holy Days.

       41. Plaintiffs cannot walk great distances to attend shuls during the Sabbath and on

Holy Days for both religious and practical reasons.

       42. Jewish law recognizes limits on how far those observing the Sabbath may travel.

Exodus 16:29 states: ?See that the Lord hath given you the sabbath; therefore He giveth you on

the sixth day the bread of two days; abide ye every man in his place, let no man go out of his place

on the seventh day."

       43. Rabbinic arithorities have interpreted this verse to prohibit long journeys on the

Sabbath.


       44. For women with young children, the elderly and handicapped, any significant

distances also render traveling such distances impracticable.

       45. Members of OJCCR and the Plaintiff Congregations have hundreds of members

that are either women with young children or elderly.

       46. Two of the required trips during the Sabbath and Holy Days often occur in the dark.

       47. The Village has few sidewalks on its thoroughfares and few street lights, rendering

such travel by foot dangerous.

       48. These trips are especially dangerous and arduoris in rain and snow.

       49. Plaintiffs are also religiorisly forbidden to carry anything, including keys, children,

prayer books or prayer shawls, or to push strollers or wheelchairs or other things during the

Sabbath, unless there is a religious boundary, k?nown as an eruv.

       50. While some small eruvin (plural of eruv) do exist in Chestnut Ridge, there is no

universally recognized large eruv covering most of the Village.




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         51. Consequently, parents of young children are unable to take them to religious

services, nor may they take elderly or disabled persons to services throughout most of Chestnut

Ridge.

         52. The Plaintiffs and their members also customarily perform certain religious

community gatherings known as a kiddush. The term kiddush means "to make holy" and usually

involves meals shared with other congregants.

         53. Plaintiffshavenolocationthatcontainadequatespacefora/ciadus%xroom.

         54. Kiddush rooms are also used for the meal that is to be eaten between the final two

services on Saturdays. As there is only approximately one hour between those services, it is not

possible for Plaintiffs to leave the shul, return home and return to shul unless the shul is in close

proximity to the members' homes.

         55. Additionally, since the Plaintiffs are unable to worship at locations that provide

adequate separate areas for women members of the congregations, as required by Plaintiffs'

religious beliefs, this further prevents many women from attending services.

         56. At present, there is only one legally permitted shul in Chestnut Ridge. It does not

meet the requirements of the Zoning Law; however, upon information and belief it was

grandfathered as an existing nonconforming use.

         57. Plaintiff Congregation Torah U'Tfilla has been seeking a location in Chestnut

Ridge that would legally meet its religioris needs, but has been unable to do so.

         58. Congregation Torah U'Tfilla is unable to find a location that complies with the

Village' s land use regulations that would meet the needs of its members to practice their religion

in Chestnut Ridge.




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        59. Congregation Torah U'Tfilla presently meets for religious observance in a rented

commercial space under a certificate of use for a lecture hall.

        60. Congregation Torah U'Tfilla has been unable to obtain a certificate of use for a

place of worship.

        61. CongregationTorahU'Tfilla'scurrentleasetermwillexpireonoraboutFebruary

28, 2020.

        62. Congregation Torah U'Tfilla's present location does not have adequate bathroom

facilities for its members.


        63. Congregation Torah U'Tfilla's present location does not have adequate facilities

for all its male and female members to attend services.


        64. Coiigregation Torah U'Tfilla's lack of adequate facilities also means that many of

its members' children cannot attend.


        65. Congregation Torah U'Tfilla's current facility is located on the outskirts of the

Scotland Hill neighborhood of Chestnut Ridge in a commercial zone, and some of its members

cannot walk to that location.


        66. Congregation Torah U'Tfilla does not have adequate facilities for a kiddush room.

        67. Plaintiff Congregation Birchas Yitzchok has purchased a property in Cliestnut

Ridge to build a shul to meet the needs of its ultra-Orthodox members in July 2017 but has not

been able to submit plans for its shul, since the property does not contain the required five acres.

        68. Congregation Birchas Yitzchok is unable to worship at the property it purchased

and must meet in the basement of a private home.

        69. Congregation Birchas Yitzchok has not been able to find a property of five acres in

the Village of Chestnut Ridge.




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        70. Congregation Birchas Yitzchok is unable to operate a place of worship where all of

its members can meet for worship.

        71. CongregationBirchasYitzchokdoesnothaveadequatebathroomfacilitiesforits

members.


        72. Congregation Birchas Yitzchok does not have adequate facilities for all of its male

and female members to attend services.


        73. Congregation Birchas Yitzchok's lack of adequate facilities also means that many

of its members' children cannot attend.


        74. Some members of Congregation Birchas Yitzchok cannot walk to its current

location,


        75. Congregation Birchas Yitzchok does not have adequate facilities for a kiddush

room.




        76. Plaintiff Congregation Dexter Park has been unable to find property to allow it to

fulfill its religious obligations.

        77. Congregation Dexter Park is currently worshipping in a great room in a home.

        78. Congregation Dexter Park does not have adequate bathroom facilities for its

members.


        79. Congregation Dexter Park does not have adequate facilities for all of its male and

female members to attend services.


        80. Congregation Dexter Park's lack of adequate facilities also means that many of its

members' children cannot attend.


        81. Some members of Congregation Dexter Park cannot walk to its current location.



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        82. Congregation Dexter Park does not have adequate facilities for a kiddush room.

        83. Plaintiff Abraham Willner is a resident of Chestnut Ridge of the ultra-Oithodox

religion. He is affiliated with Congregation Birchas Yitzchok.

        84. Plaintiff Tzvi Miller is a resident of Chestnut Ridge of the ultra-Orthodox religion.

He is affiliated with Congregation Dexter Park.

        85. SincethemembersofOJCCRandtheotherPlaintiffsarenotabletolegallyoperate

shuls in close proximity to their members, their members are neither able to eat their ritual meal

in the shul, nor to return home for that meal in time to return for the final religious service, in

violation of their religious beliefs.

           86. The inability of the Plaintiffs to provide facilities of adequate size for worship also

means that there is insufficient space for an area for a women' s section for an Orthodox shul in the

Village.

           87. The inability of the Plaintiffs to find or construct adequate places of worship in

Chestnut Ridge substantially burdens the religious exercise of ultra-Orthodox Jewish people and

especially women, children and the elderly.

            88. As discussed below, the Village's land use regulations require a place of worship

to be located on a property that is at least five acres in size.

            89. This five-acre requirement for a house of worship renders it effectively

impracticable for the Plaintiffs to obtain places of worship to practice their religion.

           90. The Defendant Village has recently published a "Full Environmental Assessment

Form" ("FEAF") regarding its zoiiing regulations for places of worship that states in part that,

while tl'iere are 2450 residential parcels in the Village, there are only 45 that are five acres or




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greater, meaning that only 1 .8% of the parcels in the Village meet the five-acre requirement. As

of January 7, 2019, only one such parcel was actually for sale.

         91. Furthermore,asinglelargeplaceofworshipwouldnotbeaccessiblebyOrthodox

Jews who reside in different neighborhoods within the Village.

         92. The FEAF states that "the supply of available lots over s acres [is] severely limited,
    )T




         93. There are virtually no properties in the Village that the Plaintiffs could locate a

place of worship under the Defendant's land use regulations.

         94. The five-acre minimum lot size for places of worship in the Village, described

below, prevents Plaintiffs from using real property as a shul by making such compliant property

prohibitively expensive.

         95. Defendant Village states in its FEAF that the price of a half-acre vacant lot in the

Village is $250,000.00. Upon information and belief, the price of such lots is at least

approximately $400,000.00. Such cost makes it impossible for religious congregations of fifty to

one hundred families to purchase parcels where a place of worship could be legally located within

the Village.

         96. Upon information and belief, a five-acre lot in the Village, should it exist and be

for sale, would be approximately $2,000,000 to $3,500,000.

         97. The Village's FEAF admits that ?the price [for a s-acre lot] would be prohibitive"

for a place of worship.

         98. Such cost is prohibitively expensive for the members of OJCCR, Plaintiff

Congregations, or any congregation that wishes to operate a neighborhood shul and renders

Plaintiffs' communal religious exercise effectively impracticable.




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           99. The individual members of the Plaintiff Congregations and the congregation

members of OJCCR who live in the Village are prevented by the Village's land rise regulations

from living in a community that permits them to reside near a synagogue and exercise their

religious faith communally within its jurisdiction.



                                The Village's Land Use Regulations

           100. The Village is approximately 4.93 square miles in area.

           101. TheVillageregulateslanduseinitsjurisdictioninpartthroughthe"ZoningLaw

of the Village of Chestnut Ridge, New York" (the ?Zoning Law").

           102. TheuseofrealpropertyintheVillageissubjecttothelawsandregulationsofthe

Village, including its Zoning Law.

           103. According to the Village's "Table of General Use Requirements-Part I:

Residential Districts% the Village's Zoning Law designates ?Churches and similar places of

worship including parish houses and rectories but not including schools of general or religious

instruction" (hereinafter, "Churches" or ?places of worship") as a "Use[] by Special Permit of the

Village Board" in the Village's RR-50, R-40, R-35, R-25, R-15, and RSH residential zoning

districts (Use Group "c").

           104. The Village's land use regulations treat Churches on less than equal terms as

practically every other nonreligious assembly and institutional use in the Village.

           105. Placesofworshipareprohibitedoutrightinnon-residentialzoningdistrictsinthe

Village.

           106. According to the Village's "Table of Bulk Requirements" (the ?Table of General

Use Requirements-Part I: Residential Districts? and the "Table of &ilk Requirements" are



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collectively referred to as the "Challenged Laws"), in each of the aforementioned zoning districts

where Churches are permitted by "Special Permit," they are subject to the following "Bulk

Regulations" :

                 a.     Minimum Lot Area of five acres


                 b.     Lot Width of 400 feet


                 C.     Front Setback of 100 feet


                 d. Front Yard, 50 feet

                 e.     Side Setback of 100 feet


                 f.     Total Side Setback of 200 feet


                 g. Side Yard, 75 feet

                 h.     Rear Setback of 100 feet


                 1.     Rear Yard, 75 feet

                 j. Street Frontage of 300 feet

                 k. Maximum Height of 35 feet

                 1. Development Coverage of 25%

                 m. Floor Area Ratio of O.20


        107. The Defendant has described these land use regulations affecting places of worship

as: "impediments to the free practice of religion, . . . ."

        108. VariousotherassemblyandinstitutionalusesarepermittedintheVillageandare

subject to less onerous Bulk Regulations.

        109. Libraries, museums, and art galleries, which are permitted in certain residential

zoning districts in the Village as a "Conditional Use" by the Village' s Planning Board, are subject

to the following Bulk Regulations (Use Group "d"):




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              a.     Minimum Lot Area of two acres


              b.     Lot Width of 200 feet


              C.     Front Setback of 100 feet


              d. Front Yard, 100 feet

              e.     Side Setback of 100 feet


              f.     Total Side Setback of 200 feet


              g. Side Yard, 25 feet

              h.     Rear Setback of 100 feet


              1.     Rear Yard, 25 feet

              j. Street Frontage of 50 feet

              k. Maximum Height of 35 feet

              1. Development Coverage of 10%

              m. Floor Area Ratio of O.20


       110. Libraries,museums,artgalleries,andfuneralchapels,whicharepermittedbyright

in certain non-residential zoning districts in the Village, are subject to the following Bulk

Regulations (Use Group ?B"):

              a.     Minimum Lot Area of 20,000 square feet

              b.     Lot Width of 100 feet


              c.     Front Setback of 30 feet


              d. Front Yard, 20 feet

              e.     Side Setback of zero feet


              f.     Total Side Setback of zero feet


              g. Side Yard, zero feet




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              h.     Rear Setback of 25 feet


              1.     Rear Yard, 25 feet

              j. Street Frontage of 100 feet

              k. Maximum Height of 30 feet

              1. Development Coverage of 70oA

              m. Floor Area Ratio of O.40


       111. Nursery schools, which are permitted in certain zoning districts in the Village as a

Conditional Use by the Village's Planning Board, are subject to the following Bulk Regulations

(Use Group "g?):

              a.     Minimum Lot Area of two acres


              b.     Lot Width of 200 feet


              c.     Front Setback of 100 feet


              d.     Front Yard, 100 feet

              e.     Side Setback of 100 feet


              f.     Total Side Setback of 200 feet


              g.     Side Yard, 25 feet

              h.     Rear Setback of 100 feet


              1.     Rear Yard, 25 feet

              J.     Street Frontage of 50 feet

              k.     Maximum Height of 35 feet

              1.     Development Coverage of 20%

              m.     Floor Area Ratio of O.20




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        112. "Medical and dental clinics, health service complexes," which are permitted by

right in certain non-residential zoning districts, and "Commercial recreation facilities;' and

"Outdoor recreation facilities;' which are permitted in certain non-residential zoning districts in

the Village as a Conditional Use by the Village' s Planning Board, are subj ect to the fol lowing Bulk

Regulations (Use Group "J?):

               a.      Minimum Lot Area of 60,000 square feet

               b.      Lot Width of 200 feet


               c.      Front Setback of 75 feet


               d. Front Yard, 25 feet

               e.      Side Setback of 75 feet


               f.      Total Side Setback of 150 feet


               g. Side Yard, 35 feet

               h.      Rear Setback of 75 feet


               1.      Rear Yard, 30 feet

               j. Street Frontage of 100 feet

               k. Maximum Height of 35 feet

               1. Development Coverage of 70%

               m. Floor Area Ratio of O.40


        113. "Hotelsandmotels;'whicharepermittedincertainnon-residentialzoningdistricts

in the Village as a Conditional Use by the Village's Planning Board, are subject to the following

Bulk Regulations (Use Group 'T'):

               a.      Minimum Lot Area of two acres


               b.      Lot Width of 300 feet




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               c.      Front Setback of 60 feet


               d. Front Yard, 20 feet

               e.      Side Setback of 50 feet


               f.      Total Side Setback of 100 feet


               g. Side Yard, 20 feet

               h.      Rear Setback of 60 feet


               1.      Rear Yard, 30 feet

               j. Street Frontage of 150 feet

               k. Maximum Height of 35 feet

               1. Development Coverage of 70%

               m. Floor Area Ratio of O.40


        114. "ShoppingCenters%"Communitycenters%and?Healthclubsandspas,?whichare

permitted by right in certain non-residential zoning districts in the Village, and "Movie Theatres;'

which are permitted by Special Permit in certain non-residential zoning districts in the Village, are

subject to the following Bulk Regulations (Use Group ?M?):

               a.      Minimum Lot Area of 15 acres


               b.      Lot Width of 500 feet


               C.      Front Setback of 40 feet


               d. Front Yard, 30 feet

               e.      Side Setback of 50 feet


               f.      Total Side Setback of 100 feet


               g. Side Yard, 30 feet

               h.      Rear Setback of 40 feet




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                 1.     Rear Yard, 30 feet

                j. Street Frontage of 500 feet

                 k. Maximum Height of 35 feet

                 1. Development Coverage of 70%

                 m.     Floor Area Ratio of 22 [sic]

          115. For each type of bulk regulation, the Challenged Laws treat various nonreligious

assembly and institutional land uses better than "Churches."

          116. In general, the Challenged Laws treat nonreligious assembly and institutional land

uses more favorably than places of worship.

          117. A Special Permit use (including any place of worship within the Village) must be

approved by the Village' s Board of Trustees and is subject to Article XVI, Section 2 of the Zoning

Law.


          118. Article XVI of the Zoning Law states in part that ?[t]he Village Board, in

considering any application for a special permit hereunder, shall exercise such discretion reserved

for legislative matters so as to ensure that the public health, welfare and safety are protected and

the environmental and land resources of the Village are most efficiently utilized." (Emphasis

added.)

          119. Such "discretion reserved for legislative matters? is boundless, and there are no

concrete standards to be used in determining whether a Special Permit is granted.

          120. TheVillagehasstatedinitsFEAF:?Althoughaspecialusepermitmustbeobtained

from the Village Board [for a place of worship], in the existing zoning code, there are no specific

criteria or standards required to be met."




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        121. TheZoningLawcontainsnoobjectivecriteriatobeusedbytheVillageBoardin

determining whether a Church use will be permitted.

        122. The Zoning Law's land use regulations applicable to places of worship, which

provide for ?legislative" discretion on the part of the Village Board when deciding whether to grant

a Special Permit anywhere within the Village's jurisdiction, grants the Village Board unbridled

discretion in determining whether to permit places of worship in the residential zoning districts

where such use is permitted, even if the Bulk Regulations described above are met.

        123. TheZoningLaw'slanduseregulationsapplicabletoplacesofworshipprovidethe

Village Board with the power to discriminate by suppressing disfavored speech or disliked

speakers.

        124. Several nonreligious assembly arid institutional uses are permitted "by right" in

certain zoning districts in the Village, and do not require a Special Permit from the Village Board,

including Nursery schools; "Libraries, museums, and art galleries? (in nonresidential zoning

districts); and "Medical and dental clinics, health service complexes.?

        125. Several nonreligious assembly and institutional land uses are permitted as a

Conditional Use by the Village's Planning Board in certain zoning districts in the Village, and do

not require a Special Permit from the Village Board, iiicluding "Libraries, museums, and art

galleries" (in residential zoiiing districts); "Commercial recreation facilities"; "Outdoor recreation

facilities"; and ?Hotels and motels."

        126. ?Conditional Uses" are permitted by the Village's Planning Board and do not

require review by the Village Board.




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        127. TheZoningLawstatesthatConditionalUsesmaybegrantedbythePlanningBoard

"in accordance with the procedures and standards" contained in Article III, Section 2, Use Table,

Column C.


        128. The Planning Board's review of Conditional Uses is subject to the standards

described in Article XII of the Zoning Law, which are several enumerated standards to be used in

determining the appropriateness of a Conditional Use.

        129. The Planning Board, in reviewing Conditional Uses, does not exercise "discretion

reserved for legislative matters."

        130. Nonreligious institutional and assembly land uses permitted in the Village that are

permitted by right or as a Conditional Use are treated on better terms than Churches.

        131 . The Village's actions described above all took place under color of state law.

        132. TheVillagewasinformedoftheapplicabilityoffederallawtoitsactions.

        133. TheharmtothePlaintiffscausedbytheVillageisimmediateandsevere.

        134. The Plaintiffs have no adequate remedy at law for the harm and damage caused by

Defendaiit's wrongful laws and actions.

        135. Defendant"s laws and actions imminently threaten to substantially burden the

Plaintiffs' free exercise of religion.

        136. The Village possesses no compelling or sufficiently substantial governmental

interest to justify the restrictions on Churches contained in the Zoning Law.

        137. The Village's Zoning Law renders new religious land uses within the Village

effectively impracticable.




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        138. The Special Permit requirement for Churches unreasonably provides the Village

with unbridled discretion to determine whether and where particular religious expression will be

permitted.



                                              COUNT I
                                       Free Exercise Clause
                                    United States Constitution,
                                First and Fourteenth Amendments
                                          42 U.S.C. § 1983

        139. Plaintiffsrepeatandreallegeparagraphslthroughl38asiffullysetforthherein.

        140. Defendant's laws, on their face and as applied, have deprived and continue to

deprive all Plaintiffs of their right to free exercise of religion, as secured by the First Amendment

to the United States Constitution and made applicable to the States by the Fourteenth Amendment

by burdening their religious exercise, by discriminating against and targeting the Plaintiffs for

disfavor on the basis of religion, and by treating religious assembly and institutional land uses on

less than equal terms as nonreligious institutional and assembly land uses.

        141. ThePlaintiffshavenoadequateremedyatlawforthehari'nanddamagecausedby

Defendant's violation of its constitutional rights.

        142. Defendant has caused the Plaintiffs to suffer, and to continue to suffer, irreparable

harm, damage and injury. The Plaintiffs will continue to suffer such damages unless the Village' s

acts and conduct complained of are permanently enjoined.




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                                             COUNT II
                                        Free Speech Clause
                                    United States Constitution,
                               First and Fourteenth Amendments
                                          42 U.S.C. § 1983

        143. Plaintiffs repeat and reallege paragraphs 1 through 142 as if fully set forth herein.

        144. Defendant's laws, on their face and as applied, have deprived and continue to

deprive all Plaintiffs of their right to free speech, as secured by the First Amendment to the United

States Constitution and made applicable to the States by the Fourteenth Amendment. The

standards set forth in the Village's land use regulations governing Special Permits for places of

worship unconstitutionally afford the Village Board unbridled discretion in its review of such an

application and, as such, are an unconstitutional prior restraint on Plaintiffs' protected religious

expression and exercise under the First Amendment.

        145. ThePlaintiffshavenoadequateremedyatlawfortheharmanddamagecausedby

Defendant's violation of its constitutional rights.

        146. Defendant has caused the Plaintiffs to suffer, and to continue to suffer, irreparable

harm, damage and injury. The Plaintiffs will continue to suffer such damages unless the Village's

acts and conduct complained of are permanently enjoined.



                                            COUNT III
                                     Equal Protection Clause
                                    United States Constitution,
                                     Fourteenth Amendment
                                          42 tr.s.c. § 1983

         l 47. Plaintiffs repeat and reallege paragraphs 1 through 146 as if fully set forth herein.

         148. Defendant's laws, on their face and as applied, have deprived and continue to

deprive all Plaintiffs of their right to equal protection of the laws, as secured by the Forirteenth

Amendment, by (1) discriminating against and targeting the Plaintiffs for disfavor on the basis of


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religion; and (2) by treating religious institutions on less than equal terms as similarly situated

nonreligious institutions.

         149. The Plaintiffs have no adequate remedy at law for the harm and damage caused by

Defendant's violation of its constitutional rights.

         150. Defendant has caused the Plaintiffs to suffer, and to continue to suffer, irreparable

harm, damage and injury. The Plaintiffs will continue to suffer such damages unless the Village's

acts and conduct complained of are permanently enjoined.



                                             COUNT IV
                     Violation of Religious Land Use and Institutionalized
                             Persons Act of 2000 - ?Substantial Burdens?
                                        42 U.S.C. § 2000cc(a)

         151. Paragraphs l through 150 are incorporated by reference as if set forth fully herein.

         152. Defendant's laws, on their face and as applied, have deprived and continue to

deprive the Plaintiffs of their right to the free exercise of religion, as secured by RLUIPA, by

imposing and implementing land use regulations both on their face and as applied in a manner that

places a substantial burden on the Plaintiffs' religious exercise without using the least restrictive

means of achieving a compelling governmental interest.



                                             COUNT V
                                        ?Nondiscrimination?
                 Religious Land Use and Institutionalized Persons Act of 2000
                                  42 U.S.C. § 2000cc(b)(2)

         153. Plaintiffs repeat and reallege paragraphs 1 throrigh 152 as if fully set forth herein.

         154. Defendant's laws, on their face and as applied, have deprived and continue to

deprive Plaintiffs of their right to the free exercise of religion, as secured by the Religious Land



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Use and Institutionalized Persons Act, by imposing land use regulations that both on their face and

as applied discriminate against the Plaintiffs on the basis of religion.



                                             COUNT VI
                                      ?Equal Terms"
                 Religious Land Use and Institutionalized Persons Act of 2000
                                  42 U.S.C. § 2000cc(b)(1)

         155. Plaintiffs repeat and reallege paragraphs l through 154 as if fully set forth herein.

         156. Defendant's laws, on their face and as applied, have deprived and continue to

deprive Plaintiffs of their right to the free exercise of religion, as secured by the Religious Land

Use and Institutionalized Persons Act, by imposing land use regulations that both on their face and

as applied treat religious assemblies and institutions on less than equal terms as nonreligious

assemblies and institutions.




                                             COUNT VII
                                     G'Exclusions and Limits"
                 Religious Land Use and Institutionalized Persons Act of 2000
                                 42 U.S.C. § 2000cc(b)(3)(B)

         157. Plaintiffs repeat and reallege paragraphs l through 156 as if fully set forth herein.

         158. Defendant's laws, on their face and as applied, have deprived and continue to

deprive Plaintiffs of their right to the free exercise of religion, as secured by the Religious Land

Use and Institutionalized Persons Act, by imposing land use regulations that unreasonably limit

places of worship within its jurisdiction.




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                                               COUNT VIII
                                      New York Constitution,
                                           Art. I § 3

        159. Plaintiffsrepeatandreallegeparagraphslthroughl58asiffullysetforthherein.

        160. Defendant's laws, on their face and as applied, have deprived and continue to

deprive all Plaintiffs of their rights guaranteed by Article I Section 3 of the New York State

Constitution, which provides: ?The free exercise and enjoyment of religious profession and

worship, without discrimination or preference, shall forever be allowed in this state to all

humankind . . . ." N.Y. Const. Art. I, f§ 3.

        161 . The Plaintiffs have no adequate remedy at law for the harm and damage caused by

Defendant's violation of its constitutional rights.

        162. DefendanthascausedthePlaintiffstosuffer,andtocontinuetosuffer,irreparable

harm, damage and injury. The Plaintiffs will continue to suffer such damages unless the Village's

acts and conduct complained of are permanently enjoined.



                                         RELIEF SOUGHT


WHEREFORE, Plaintiffs demand Judgment as follows:

       A. Declaratory judgment holding that the Challenged Laws governing "Churches" are

                unconstitutional and illegal under the Free Exercise and Free Speech Clauses of the

                First Amendment to the United States Constitution, the Equal Protection Clause of

                the Fourteenth Amendment to the United States Constitution, the Religious Land

                Use and Institutionalized Persons Act, and the New York Constitution, Article I Ffi

                3;




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       B. Preliminary and permanent orders enjoining the application of the Challenged Laws

               governing Churches;

       C. An award of compensatory damages against Defendant in favor of the

               Plaintiffs in such amount as the Court deems just for the loss of the Plaintiffs' rights

               under the First and Fourteenth Amendments to the United States Constitution, the

               Religious Land Use and Institutionalized Persons Act, and the New York

               Constitution incurred by the Plaintiffs, and caused by the Defendant's laws and

               actions;

       D. An award to Plaintiffs of full costs, disbursements and attorneys' fees, to the extent

               permitted by law, arising out of Defendant's laws and actions and out of this

               litigation;

       E. Granting such other, further and different relief as to this Court deems just, proper

               and equitable.

Respectfully submitted by the Plaintiffs this 1 5th day of January, 2019.

                                                       STORZER & ASSOCIATES, P.C.

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